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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

             CORECO JA’QAN PEARSON,
             VIKKI TOWNSEND
             CONSIGLIO, GLORIA KAY
             GODWIN, JAMES KENNETH
             CARROLL, CAROLYN HALL
             FISHER,
             CATHLEEN ALSTON LATHAM
             and BRIAN JAY VAN GUNDY
                                Plaintiffs,              CIVIL ACTION FILE NO.
                           v.                            1:20-cv-1677-TCB
             BRIAN KEMP, in his official
             capacity as Governor of Georgia,
             BRAD RAFFENSPERGER,
             in his official
             capacity as Secretary of State and
             Chair of the Georgia State
             Election Board, DAVID J.
             WORLEY, in his official capacity
             as a member of the Georgia State
             Election Board, REBECCA N.
             SULLIVAN, in her
             official capacity as a member of
             the Georgia State Election Board,
             MATTHEW MASHBURN, in his
             official capacity as a member of
             the Georgia State Election Board,
             and ANH LE, in her official
             capacity as a member of the
             Georgia State Election Board,

                                 Defendants,



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             DEMOCRATIC PARTY OF
             GEORGIA, INC., DSCC, DCCC,
             JOHN MANGANO, ALICE
             O’LENICK, BEN
             SATTERFIELD, WANDY
             TAYLOR, and STEPHEN DAY,

                              Intervenors.




                                              ORDER

                  It is hereby ORDERED that all attorneys and assistants to the

             attorneys be allowed to bring cell phones and laptops and other laptop

             accessories into the Richard Russell Building on December 7, 2020 for a

             hearing in this case.

                  SO ORDERED this 6th day of December, 2020.



                                               ___________________________________
                                               TIMOTHY C. BATTEN, SR.
                                               UNITED STATES DISTRICT JUDGE




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